Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 1 of 35

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

CHRISTINA WILLIAMS and : No. 18-
MICHAEL STERMEL, on behalf:

of themselves and all others : CLASS ACTION
similarly situated, i

Plaintiffs, : JURY TRIAL DEMANDED
vs.

MACFARLANE GROUP, INC.,
MEDLEY OPPORTUNITY
FUND II, LP, MARK CURRY,
BRIAN MCGOWAN,
VINCENT NEY, and other
JOHN DOE persons or entities,

Defendants.

 

CLASS ACTION COMPLAINT
I. INTRODUCTION
1. Plaintiffs Christina Williams and Michael Stermel bring this lawsuit
on behalf of themselves and a Class and Subclass of consumers in Pennsylvania
who were victimized by predatory loans with unlawful interest charges of 400% to
over 700% annual percentage rate (APR), commonly referred to as “payday loans.”
2. Defendants MacFarlane Group, Inc., Medley Opportunity Fund II, LP,

Mark Curry, Brian McGowan, and Vincent Ney (“Defendants”) illegally solicited,

arranged, funded, serviced, and/or collected these payday loans made to
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 2 of 35

Pennsylvania citizens over the internet. To evade State licensure, usury, and
consumer protection laws, Defendants have used affiliations with a Native
American tribe as the vehicle for this illegal activity. Knowing that Native
American tribal corporations have insulation from State jurisdiction under the
doctrine of tribal sovereign immunity, Defendants have, as an alternative to
making the loans in their own name, chosen to structure, participate in, and operate
this scheme in which the loans are made in the name of a tribal corporation
(“American Web Loan, Inc.” or “AWL, Inc.”’), while Defendants fund, control, and
recover nearly all of the revenues and profits from the loans. Defendants thus have
controlled and profited from illegal loans that flout Pennsylvania law, using
deliberate deceptions targeting Pennsylvania consumers.

3, Through this predatory lending scheme, Defendants recovered
usurious interest within the meaning of the Pennsylvania usury law, 41 Pa. Stat. §§
201, 501, engaged in unfair and deceptive acts and practices by making unlawful
loans to borrowers in violation of Pennsylvania’s small loan law, 7 Pa. Stat. §§
6201 et seg., concealed their role and interest in the payday loan product, and
engaged in unlawful racketeering activity in violation of federal law, 18 U.S.C. §§
1961 et seg. For these violations, Plaintiffs, on behalf of themselves and all others
similarly situated, seek a declaratory judgment that the payday lending business

conducted by Defendants is illegal under federal and Pennsylvania law, an
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 3 of 35

injunction barring continuing violations, and an award of money damages, as well
as penalties, costs of suit, and attorneys’ fees.
II. PARTIES

4. Plaintiff Christina Williams is a Pennsylvania citizen who resides at
4049 Poplar Street, Philadelphia, Pennsylvania 19104.

5. Plaintiff Michael Stermel is a Pennsylvania citizen who resides at
2634 South Camac Street, Philadelphia, Pennsylvania 19148.

6. Defendant MacFarlane Group, Inc. is a Nevada corporation with its
principal place of business at 6950 West 56" Street, Mission, Kansas 66202.

tk Defendant Medley Opportunity Fund I, LP is a Delaware limited
partnership with its principal place of business at 375 Park Avenue, Suite 3304,
New York, New York, 10152.

8. Defendant Mark Curry is, on information and belief, a citizen of
Puerto Rico who resides at 405 Avenue Esmeralda, Guaynabo, Puerto Rico 00969.

9. Defendant Brian McGowan is, on information and belief, a citizen of
Kansas who resides in Overland Park, Kansas.

10. Defendant Vincent Ney is, on information and belief, a citizen of

Texas who resides in Burghem, Texas.
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 4 of 35

Hr. JURISDICTION AND VENUE

11. The Court has jurisdiction pursuant to 28 U.S.C. § 1331 because
Plaintiffs’ RICO claims arise under the laws of the United States and to 28 U.S.C.
§ 1332(d)(2) because this case is a class action, there is diversity of citizenship
between Plaintiffs and members of the proposed Class and Defendants, and the
ageregate amount in controversy is in excess of $5,000,000.00.

12. Venue is proper in this judicial district pursuant to 28 U.S.C. §
1391(a) because the events that gave rise to this claim occurred within this district.

IV. FACTUAL ALLEGATIONS

A. Pennsylvania Restrictions on High-Interest Rate Lending Over
the Internet

 

13. Under Section 201 of the Loan Interest and Protection Law (“LIPL”),
41 Pa. Stat. § 201, the maximum lawful rate of interest for the loan and use of
money in amounts less than $50,000 is six percent (6%) per year.

14. The six-percent interest cap applies to all consumer lenders except
those lenders who are licensed under the Consumer Discount Company Act
(““CDCA”), 7 Pa. Stat. §§ 6201 et seg., and who make loans in accordance with the
limitations and requirements of that statute. See Pennsylvania Dept. of Banking v.
NCAS of Delaware, LLC, 948 A.2d 752 (Pa. 2008). This cap applies to all credit-
related charges, however labeled, and applies to credit lines as well as fixed-

amount loans. /d. at 762.
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 5 of 35

15. As of February 1, 2009, the usury restrictions imposed by the LIPL
and the CDCA apply to loans made to Pennsylvania citizens over the Internet. See
Cash America Net of Nevada, LLC v. Comm’r, Dept. of Banking, 8 A.3d 282, 284
(Pa. 2010) (upholding Department of Banking’s official interpretation).

16. Thus, as of February 1, 2009, payday lending—the “consumer lending
practice in which a lender offers consumers high-rate, short-term loans secured by
either a post-dated check or a debit authorization from a bank,” Cash America,
supra, 8 A.3d at 284, has been illegal in Pennsylvania, whether done through
storefronts or over the Internet.

17. On information and belief, Defendants are not licensed under the
CDCA, and thus are prohibited from making and collecting on any consumer loans
to Pennsylvania citizens that charge interest rates in excess of six percent per year.

B. Defendants’ Rent-a-Tribe Scheme

 

1. Defendants’ Prior Cross-Border and “Fee”-Based Payday
Lending

18. Defendants have long been actively involved in internet payday
lending to consumers at interest rates that violate applicable State laws.

19. On September 9, 2003, Defendant Vincent Ney (“Ney”) created the
online payday lending company Government Employees Credit Center, Inc., d/b/a

GECC, d/b/a Cash Direct Express, and d/b/a chasedirectexpress.com (“GECC”).
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 6 of 35

20. GECC was in the business of making payday loans remotely to
consumers online, operating from outside of the consumers’ home States, and
charging interest rates in excess of the consumers’ home-State usury limits.

21.  Asaresult of these practices, GECC was barred by State regulators
from doing business in Maine, New Hampshire, New York, Vermont, and West
Virginia.

22. In 2007, Defendant Mark Curry (“Curry”) created the company
Geneva-Roth Ventures, Inc., d/b/a Loan Point USA (“Geneva-Roth”), a Delaware
corporation with its principal place of business at 6950 West 56" Street, Mission,
Kansas 66202.

23. While Defendant Curry was Geneva-Roth’s sole owner, Defendant
Brian McGowan was an officer of the company.

24. Geneva-Roth also was in the business of making payday loans to
consumers online, charging interest rates in excess of the consumers’ home-State
usury limits. Geneva-Roth charged interest rates as high as 1,365% APR.

25. Geneva-Roth’s loan terms also allowed the company to withdraw
“partial payments” from consumers’ accounts on paydays.

26. The loan terms also represented that the company’s charges for loans

were not interest, but rather recurring “fees.”
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 7 of 35

27. Geneva-Roth set consumers’ partial-payment withdrawals just high
enough to cover the recurring fees, without drawing down the loans’ principal
balances.

28. Asaresult, the agreements allowed Geneva-Roth to extract continual
payments from consumers long after they had repaid the original value of the loan.

29. Geneva-Roth also made loans to consumers in multiple States without
having the required license.

30. Asaresult of these unlawful and predatory lending practices, Geneva-
Roth was barred by State regulators from doing business in Alaska, Arkansas,
California, Connecticut, Maine, Oregon, and Washington.

31. The consent decrees between Geneva-Roth and various of these States
were signed by either Defendant Curry, as company owner, or Defendant
McGowan, as company officer.

32. On information and belief, Geneva-Roth no longer is in business.

Bs Founding of MacFarlane Group, Inc. and Defendants’
Entry into Rent-a-Tribe Payday Lending

33. In 2010, Defendant Curry founded a new company, Defendant
MacFarlane Group, Inc. (“MacFarlane Group”). Like Geneva-Roth before it,
Defendant MacFarlane Group is headquartered at 6950 West 56" Street, Mission,

Kansas 66202.
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 8 of 35

34. Defendant MacFarlane Group also has maintained offices in
Oklahoma and Nevada.

35. While Defendant Curry is Defendant MacFarlane Group’s owner,
Defendant McGowan has served as its Executive Vice President and Chief
Treasury Officer.

36. Defendant MacFarlane Group has provided a variety of business
services, including customer lead-generation, call-center support, management
services, information technology services, marketing, and analytics.

37. Inearly 2010, Defendants Curry, McGowan, and MacFarlane Group
introduced online payday lending to the Otoe-Missouria Tribe of Indians.

38. The Otoe-Missouria Tribe’s territory is located within the borders of
the State of Oklahoma. The Tribe has a population of approximately 3,000
persons.

39. Onor about February 10, 2010, Defendant Curry brokered an
arrangement between Defendant MacFarlane Group and the Otoe-Missouria Tribe
through then-Tribal Vice Chairman Charles Moncooyea.

40. Under this arrangement, the Tribe created a company called American
Web Loan, Inc. through an enactment that was titled the “American Web Loan
Act.” The Act authorized American Web Loan, Inc. to participate in the business

of online payday lending to consumers throughout the United States.
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 9 of 35

41. Onor about February 22, 2011, Defendants MacFarlane Group and
Curry secured $22.9 million in funding for payday loans to be made under the
name of American Web Loan, Inc.

42. Defendants MacFarlane Group and Curry obtained the $22.9 million
in funding for American Web Loan, Inc.’s online payday lending through a loan
from Defendant Medley Opportunity Fund II, LP (“Medley Fund”), a private
equity fund, in 2011.

43. Upon information and belief, Defendant Medley Fund had knowledge
that Defendant MacFarlane Group intended to use the loan to fund high-interest
payday lending. The loan to Defendant MacFarlane Group carried the highest
effective interest rate in Defendant Medley Fund’s loan portfolio, at 26% APR.

44. The payday loans made under American Web Loan, Inc.’s name
originally with Defendant MacFarlane Group’s funds obtained from Defendant
Medley Fund charged borrowers interest rates in excess of their home-State usury
limits.

45. Like Geneva-Roth, American Web Loan, Inc. was barred from doing
business by regulators in several States—specifically, New York and Connecticut.

46. Loans made under the name of American Web Loan, Inc. generated
over $100 million in profits for Defendant MacFarlane Group as of 2014, while

only about one percent of the revenues from these loans went to the Tribe itself.
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 10 of 35

Otoe-Missouria Tribal Vice Chairman Moncooyea later stated about this
arrangement that “As time went on, I realized that [the tribe] didn’t have any
contro] at all.”

47. As aresult of the success of this arrangement for Defendant
MacFarlane Group, Defendant Curry moved from Kansas to a suburb of Las
Vegas, Nevada, where he paid $1.8 million for a modernist mansion. He later
moved to Puerto Rico.

48. The trademark for “American Web Loan” is registered with an entity
called American Web Loan Holdings, with an address also in Las Vegas, Nevada.

3. Defendants’ Creation of Current Nominal Tribal Lender
AWL, Inc.

49. On September 21, 2016, the Otoe-Missouria Tribal Council adopted
the “AWL Act,” which created a separate online payday lending company, AWL,
Inc.

50. At around this time, the Otoe-Missouria Tribal Chairman announced
that the Tribe was acquiring Defendant MacFarlane Group, Inc.

51. Over the next several months, AWL, Inc. registered as a foreign
corporation in the States of Illinois, Kansas, Nevada, and Texas.

52. The Texas State filings for AWL, Inc. list Defendants Curry,
McGowan, and Ney, all non-tribal members, as being on the company’s Board of

Directors.

10
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 11 of 35

53. As with Defendants Curry and McGowan, AWL, Inc. is not
Defendant Ney’s first foray into rent-a-tribe payday lending. In mid-to-late 2012,
Defendant Ney raised at least $8 million from private, non-tribal investors to fund
payday loans made in the name of Blue King, Inc., which was owned by the
Chukchansi Indian Tribe of eastern California. A substantial part of the revenues
generated by Blue King, Inc. payday loans was paid to the loan servicing
companies Arcapex LLC, Blackthorn Advisory Group LLC, and Light Sword
LLC, all of which were co-owned by Defendant Ney.

54. The Texas and Kansas State corporate filings for AWL, Inc. were
faxed from the same off-reservation number in the State of Kansas.

55. The Texas and Kansas State corporate filings by AWL, Inc. were sent
by non-tribal member Lea McCandless, who is a former Executive Legal Assistant
at Defendant MacFarlane Group.

C. Plaintiffs’ Payday Loans with Defendants Under the Names of
American Web Loan, Inc. and AWL, Inc.

 

1. Plaintiff Christina Williams

a. January 17, 2017 Loan

 

56. Plaintiff Christina Williams entered into a payday “Loan Agreement”
over the internet from her home in Philadelphia, Pennsylvania on or about January

17,2017. The nominal lender was “American Web Loan, Inc.”

11
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 12 of 35

57. The loan was for the amount of $1,400. The Loan Agreement
required Ms. Williams to make bi-weekly payments of $300.31 from February 3,
2017 to October 13, 2017, with a final payment of $299.86 due on October 27,
2017. The total of these required payments was $6,005.94.

58. This represented a finance charge of $4,605.94 on a $1,400 loan paid
back in under ten months.

59. The stated interest rate on the Loan Agreement is 520.90% APR.

60. The Loan Agreement included an Electronic Funds Transfer (“EFT”)
authorization wherein Ms. Williams was deemed to authorize the lender and its
agents to debit payments from her personal bank account in Pennsylvania.

61. Ms. Williams made bi-weekly payments of $300.32 on February 3,
February 17, and March 3, 2017. Of these payments, over $800 was credited to
interest, while less than $96 was credited to principal reduction.

62. On March 3, 2017, Ms. Williams paid the remaining principal balance
of $1,304.05 with proceeds from another loan.

63. Ms. Williams had the January 17, 2017 “American Web Loans, Inc.”
loan open for just 46 days, during which time she paid over $800 interest on an
original loan balance of $1,400. This means Ms. Williams paid interest on the loan

at arate that was greater than 500% APR.

2
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 13 of 35

b. April 25, 2017 Loan

64. Ms. Williams entered into another payday “Loan Agreement” over the
internet from her home in Philadelphia, Pennsylvania on or about April 25, 2017.
The nominal lender, again, was American Web Loan, Inc.

65. The loan was for the amount of $1,600. The loan required Ms.
Williams to make bi-weekly payments of $469.50 from May 12, 2017 to January
19, 2018, with a final payment of $467.53 due on February 2, 2018. The total of
these required payments was $9,388.03.

66. This represented a finance charge of $7,788.03 on a $1,600 loan paid
back in under ten months.

67. The stated interest rate on the Loan Agreement is 714.88% APR.

68. The Loan Agreement included an EFT authorization wherein Ms.
Williams was deemed to authorize the lender and its agents to debit payments from
her personal bank account in Pennsylvania.

69. Ms. Williams made bi-weekly payments of $469.50 on May 12, May
26, June 9, June 23, and July 7, 2017. The total of these payments was $2,347.50.

70. Ms. Williams had the April 25, 2017 “American Web Loans, Inc.”
loan open for 74 days, during which time she paid at least $747.50 interest on an
original loan balance of $1,600. This means Ms. Williams paid interest on the loan

at arate of at least 233% APR.

13
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 14 of 35

2. Plaintiff Michael Stermel

71. Plaintiff Michael Stermel entered into a “Loan Agreement” over the
internet from his home in Philadelphia, Pennsylvania on or about July 28, 2017.
The nominal lender was “AWL, Inc.”

72. The loan was in the amount of $1,000. The Loan Agreement required
Mr. Stermel to make bi-weekly payments of $213.08 from August 17, 2017 to
April 26, 2018, with a final payment of $212.44 due on May 10, 2018. The total of
these required payments was $4,260.96.

73. This represented a finance charge of $3,260.96 on a $1,000 loan paid
back in under ten months.

74. The stated interest rate on the Loan Agreement is 496.55% APR.

75. The Loan Agreement included an EFT authorization wherein Mr.
Stermel was deemed to authorize the lender and its agents to debit payments from
his personal bank account in Pennsylvania.

76. Mr. Stermel made bi-weekly payments of $213.08 on August 17,
2017 and August 31, 2017. Both of these payments were credited entirely to
interest, so that the principal balance on the loan after these two payments still was
the original $1,000 amount borrowed.

77. Mr. Stermel had the July 28, 2017 “AWL, Inc.” loan open for at least

34 days, during which time he paid $426.16 interest on an original loan balance of

14
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 15 of 35

$1,000. This means Mr. Stermel paid interest on the loan at a rate of over 457%
APR.
Vv. CLASS ACTION ALLEGATIONS

78. Plaintiffs seek to represent a Class of all citizens of Pennsylvania who,
within the six years preceding the filing of this Complaint, have obtained one or
more loans with interest charges in excess of six percent (6%) APR where the
lender named on the loan agreement was “American Web Loan, Inc.” or “AWL,
Inc.”

79. Plaintiffs also seek to represent a Subclass comprised of all Class
members who obtained one or more subject loan within the four years preceding
the filing of this Complaint.

80. Upon information and belief, the Class and Subclass are sufficiently
numerous that joinder of all members is impracticable within the meaning of Fed.
R. Civ. P. 23(a)(1). Defendant MacFarlane Group, Inc. is reported to have realized
profits in excess of $100 million as of 2014 from its rent-a-tribe payday lending
arrangement with the Otoe-Missouria tribe, carried out through loan agreements
naming American Web Loan, Inc. or AWL, Inc. as the lender.

81. There are questions of law and fact common to the Class and Subclass

within the meaning of Fed. R. Civ. P. 23(a)(2), which common issues predominate

15
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 16 of 35

over any issues peculiar to individual Class members within the meaning of Fed.
R. Civ. P. 23(b)(3). The principal common questions include:

For the Class

(a) Whether one or more of the Defendants are the true lender on
the American Web Loan, Inc. and/or AWL, Inc. payday loans made over the
internet to Pennsylvania citizens;

(b) Whether Defendants’ lending practices to Pennsylvania
consumers violate the LIPL and/or CDCA;

(c) Whether Defendants’ practices, as described above, constitute
unfair or deceptive trade practices under the Pennsylvania Unfair Trade
Practices and Consumer Protection Law (““UTPCPL”), 73 Pa. Stat. §§ 201 et
seq.

(d) Whether Defendants’ collection of the payday loans violates the
Pennsylvania Fair Credit Extension Uniformity Act (““FCEUA”), 73 Pa. Stat.
§§ 2270.1 et seq.

(e) Whether Defendants’ business practices constitute the business
of acting as a “credit services organization” or “loan broker” in violation of

the Pennsylvania Credit Services Act (“CSA”), 73 Pa. Stat. §§ 2181 et seq.

16
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 17 of 35

(f) | Whether Plaintiffs and the Class are entitled to a declaratory
judgment that any purported contracts arising from the subject payday loans
are void and unenforceable;

(g) Whether Plaintiffs are entitled to injunctive relief enjoining
Defendants from engaging in usurious payday lending with Pennsylvania
citizens;

(h) Whether Plaintiffs and Class members are entitled to damages
and/or restitution of all interest paid on the subject payday loans, and
whether those damages should be trebled for Defendants’ willful, deliberate,
unconscionable, repeated, and otherwise aggravated unlawful practices.

For the Subclass

(a) Whether Defendants engaged in an enterprise for the purpose of
collecting unlawful debts;

(b) Whether Defendants conspired to form an enterprise for the
purpose of collecting unlawful debts.

82. The claims of the Plaintiffs are typical of the claims of each member

of the Class and Subclass, within the meaning of Fed. R. Civ. P. 23(a)(3), and are

based on and arise out of substantially the same facts constituting the wrongful

conduct of Defendants.

|
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 18 of 35

83. Plaintiffs will fairly and adequately protect the interests of the Class
and Subclass within the meaning of Fed. R. Civ. P. 23(a)(4). Plaintiffs have
retained counsel experienced and competent in class actions and complex
consumer litigation, and Plaintiffs themselves have no conflicting interests with
those of the Class or Subclass.

84. Certification of the Class and Subclass pursuant to Fed. R. Civ. P.
23(b) is appropriate because:

(a) The prosecution of separate actions by individual members of
the Class and Subclass would create a risk of establishing incompatible
standards of conduct for Defendants, within the meaning of Fed. R. Civ. P.
23(b)(1)(A);

(b) Defendants’ actions are generally applicable to the Class and
Subclass as a whole and, since Defendants have acted on grounds generally
applicable to the Class and Subclass, Plaintiffs seek equitable remedies with
respect to the Class and Subclass as a whole within the meaning of Fed. R.
Civ. P. 23(b)(2);

(c) Common questions of law and fact enumerated above
predominate over questions affecting only individual members of the Class

and Subclass, and a class action is the superior method for fair and efficient

18
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 19 of 35

adjudication of the controversy, within the meaning of Fed. R. Civ. P.
23(b)(3);

(d) The likelihood that individual members of the Class and
Subclass will prosecute separate actions is remote due to the complexities of
the issues, the relatively modest amounts of individual recoveries, and the
time and expense necessary to conduct such litigation; and

(e) There are no difficulties likely to be encountered in the
management of the action as a class action.

VI. CAUSES OF ACTION

COUNT I
(Asserted on Behalf of Plaintiffs and the Class)

Violation of Pennsylvania Usury Law, 41 Pa. Stat. § 101 ef seq.

85. Plaintiffs hereby incorporate by reference each and every allegation
contained in the foregoing paragraphs as if fully set forth herein.

86. Defendants, through the operations and conduct described above,
were or are in the business of arranging, funding, and servicing credit in the
amount of $50,000 or less, and are subject to the provisions of the Pennsylvania
Consumer Discount Company Act (““CDCA”), 7 Pa. Stat. §§ 201 et seq.

87. Because Defendants failed to obtain a license under the CDCA, the
interest rates applicable to the subject payday loan transactions can be no higher

than that set by the general Pennsylvania usury law under the Loan Interest and

19
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 20 of 35

Protection Law (“LIPL”) —six percent (6%) annual percentage rate. 41 Pa. Stat.
§§ 201 et seg.

88. By charging and collecting interest at a rate higher than that permitted
by law, Defendants violated the LIPL, 41 Pa. Stat. §§ 201, 501. The LIPL’s
protections cannot be waived. 41 Pa. Stat. § 408.

89. Plaintiffs and Class members are entitled to triple the amount of
excess interest they have paid on the subject payday loans, together with
reasonable attorneys’ fees and costs, pursuant to 41 Pa. Stat. §§ 502-503.

90. Plaintiffs and Class members also are entitled to a declaratory
judgment that the subject payday loans violate Pennsylvania’s usury law, as well as
an injunction prohibiting Defendants from arranging, funding, and/or servicing
usurious payday loans in Pennsylvania.

WHEREFORE, Plaintiffs request that the Court order the following relief
in their favor and on behalf of all members of the Class against Defendants:

A. — A determination that this action proceed as a class action, that
Plaintiffs be certified as Class representatives, and that their counsel be certified to
represent the Class;

B. A declaratory judgment that Defendants’ conduct violated the laws

cited above, and that any purported contracts with Class members arising during

20
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 21 of 35

the Class period from usurious payday loans arranged, funded, and/or serviced by
Defendants are void and unenforceable;
C. — An injunction prohibiting Defendants from offering, making,
arranging, funding, servicing, and/or collecting on usurious loans in Pennsylvania;
D. Monetary damages in the amount of three times the excess interest,

finance charges, and fees paid by Class members on the subject payday loans,

pursuant to the LIPL;
E. Disgorgement of Defendants’ unjustly obtained interest payments;
F. An award of attorneys’ fees and litigation expenses and costs; and

G. Such other and further relief as the Court deems just and proper.

COUNT I
(Asserted on Behalf of Plaintiffs and the Class)

Violation of Pennsylvania Unfair Trade Practices and
Consumer Protection Law, 73 Pa. Stat. §§ 201-1 et seq.

 

91. Plaintiffs hereby incorporate by reference each and every allegation
contained in the foregoing paragraphs as if set forth fully herein.

92. Plaintiffs and Class members obtained the subject payday loans
arranged, funded, and serviced by Defendants primarily for personal, family, or
household purposes.

93. Defendants, through the conduct described above, are or were in the

business of arranging, funding, servicing, and/or collecting money on credit in the

21
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 22 of 35

amount of $25,000 or less, and are subject to the provisions of the CDCA, 7 Pa.
Stat. §§ 6201 et seq.

94. Because Defendants failed to obtain a license under the CDCA, the
interest rate applicable to the subject payday loan transactions can be no higher
than that set by the LIPL—six percent (6%) APR.

95. By charging and collecting interest at a rate higher than that permitted
by law, Defendants have violated the LIPL, 41 Pa. Stat. §§ 201, 501. The LIPL’s
protections cannot be waived. 41 Pa. Stat. § 408.

96. Defendants’ violation of the LIPL constitutes a per se unfair or
deceptive act or practice under the Pennsylvania Unfair Trade Practices and
Consumer Protection Law (““UTPCPL”), 73 Pa. Stat. §§201-1 et seq.

97. By arranging, funding, servicing, and/or collecting on small loans
with interest rates in excess of 6% APR without a license, Defendants have
violated the CDCA, 7 Pa. Stat. § 6203.

98. Defendants’ violation of the CDCA constitutes a per se unfair or
deceptive act or practice under the UTPCPL.

99. Defendants’ violations of the FCEUA, 73 Pa. Stat. §§ 2270.1 ef seq.,
as described below, constitute per se unfair or deceptive trade practices under the

UTPCPL, pursuant to FCEUA, 73 PA. Stat. § 2270.5(a).

22
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 23 of 35

100. In addition, Defendants’ acts described above are unfair acts or
deceptive acts or practices, as defined by the UTPCPL, 73 Pa. Stat. §§ 201-2(4)
and 73 Pa. Stat. § 201-3, in that Defendants have, through form contracts and other
acts and practices common to the Class:

(a) Caused a likelihood of confusion or misunderstanding as to the
legality of the payday loans offered under the name of American Web Loan,

Inc. or AWL, Inc., in violation of 73 Pa. Stat. § 201-2(4)(ii);

(b) Passed off the loan services provided by Defendants as those of
another, when in fact Defendants provide the services, in violation of 73 Pa.

Stat. §§ 201-2(4)(i) and 201-3;

(c) Caused a likelihood of confusion or misunderstanding as to the
source of the payday loans offered under the name of American Web Loan,

Inc. or AWL, Inc., in violation of 73 Pa. Stat. §§ 201-2(4)(ii) and 201-3, by

listing the purported lender of the payday loans to be American Web Loan,

Inc. or AWL, Inc. when in fact Defendants were the true lender;

(d) Caused a likelihood of confusion or misunderstanding as to the
role and interest of Defendants in the transaction, in violation of 73 Pa. Stat.

§§ 201-2(4)(1) and 201-3, by listing the purported lender of the payday

loans to be American Web Loan, Inc. or AWL, Inc. when in fact Defendants

23
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 24 of 35

were the true lender and had the predominate economic interest in the loans;

and,

(e) Engaged in deceptive conduct which created a likelihood of
confusion or misunderstanding, in violation of 73 Pa. Stat. § 201-2(4)(xxi).

101. Plaintiffs and Class members have suffered an ascertainable loss of
money as a result of these unfair or deceptive acts or practices. Specifically, they
have paid a grossly higher interest rate on loans than they would have paid had the
loans been made in compliance with Pennsylvania law and had Defendants not
engaged in unfair and deceptive conduct.

102. Defendants’ acts were made knowingly, deliberately, and repeatedly,
watranting the imposition of an award of treble damages under 73 Pa. stat. §
201.9.2(a) of the UTPCPL.

WHEREFORE, Plaintiffs request that the Court order the following relief
in their favor and on behalf of all members of the Class against Defendants:

A. — A determination that this action proceed as a class action, that
Plaintiffs be certified as Class representatives, and that their counsel be certified to
represent the Class;

B. A declaratory judgment that Defendants’ conduct violates the laws

cited above, and that any purported contracts with Class members arising during

24
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 25 of 35

the Class period from usurious payday loans arranged, funded, and/or serviced by
Defendants are void and unenforceable;

C. — An injunction prohibiting Defendants from offering, making,
arranging, funding, servicing, and/or collecting on usurious loans in Pennsylvania;

D. Monetary damages and/or restitution of all amounts of illegal interest,
finance charges, and fees paid on the subject payday loans, trebled for Defendants’
willful, deliberate, unconscionable, repeated, and otherwise aggravated unlawful
practices, pursuant to the UTPCPL,73 Pa. Stat. § 201.9.2(a);

E. —_Disgorgement of Defendants’ unjustly obtained interest payments;

F. An award of attorneys’ fees and litigation expenses and costs; and

G. Such other and further relief as the Court deems just and proper.

COUNT HI
(Asserted on Behalf of Plaintiffs and the Class)

Violations of Pennsylvania Fair Credit Extension Uniformity Act,
73 Pa. Stat. § 2270.1 et seq.

 

103. Plaintiffs reallege and incorporate by reference all preceding
allegations of law and fact.

104. Defendants violated the Pennsylvania Fair Credit Extension

 

Uniformity Act (“FCEUA”), 73 Pa. Stat. §§ 2270.1 et seqg., by the following

conduct:

25
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 26 of 35

(a) Collecting and attempting to collect interest charges that are not
permitted by law;

(b) Giving a false representation of the legal status of the alleged
debt; and

(c) Making threats to take action which cannot legally be taken.

105. Plaintiffs and Class members have suffered an ascertainable loss as a
result of these deceptive debt-collection practices.

WHEREFORE, Plaintiffs request that the Court order the following relief
in their favor and on behalf of all members of the Class against Defendants:

A. — A determination that this action proceed as a class action, that
Plaintiffs be certified as Class representatives, and that their counsel be certified to
represent the Class;

B. — A declaratory judgment that Defendants’ conduct violates the laws
cited above, and that any purported contracts with Class members arising during
the Class period from usurious payday loans arranged, funded, and/or serviced by
Defendants are void and unenforceable;

C. An injunction prohibiting Defendants from offering, making,
arranging, funding, servicing, and/or collecting on usurious loans in Pennsylvania;

D. Monetary damages and/or restitution of all amounts of illegal interest,

finance charges, and fees paid on the subject payday loans, trebled for Defendants’

26
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 27 of 35

willful, deliberate, unconscionable, repeated, and otherwise aggravated unlawful
practices, pursuant to the UTPCPL, 73 Pa. Stat. § 201.9.2(a);
E. Disgorgement of Defendants’ unjustly obtained interest payments;
F. An award of attorneys’ fees and litigation expenses and costs; and
G. — Such other and further relief as the Court deems just and proper.

COUNT IV
(Asserted on Behalf of Plaintiffs and the Class)

In the Alternative: Violations of the Pennsylvania Credit Services Act,
73 Pa. Stat. §§ 2181 et seq.

106. Plaintiffs reallege and incorporate by reference all preceding
allegations of law and fact.

107. In the alternative to the allegations and claims made regarding
Defendants as the true lender of the subject payday loans, Plaintiffs allege that
Defendants have operated in Pennsylvania as both a “loan broker” and “credit
services organization” within the meaning of the Pennsylvania Credit Services Act
(“CSA”), 73 Pa. Stat. §§ 2181 et seq.

108. The CSA prohibits loan brokers from making any false or misleading
representations, omitting any material facts in the offer or sale of their services, or
engaging directly or indirectly in any act that operates or would operate as fraud or

deception upon any person in connection with their offer or sale of their services.

73 Pa. Stat. § 2188(c)(2).

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Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 28 of 35

109. Defendants violated the loan broker provisions of the CSA in a
number of ways, including the following:

(a) Miusrepresenting the role and interest of Defendants in the
payday loan product by listing the purported lender of the payday loans to be
American Web Loan, Inc. or AWL, Inc. when in fact Defendants were the
true lender;

(b) Failing to disclose their significant financial interest in the loan
product; and

(c) Engaging in other deceptive conduct.

110. By providing payday borrowers with assistance in obtaining an
extension of credit in return for compensation, Defendants also are or were a
“credit services organization” subject to the requirements of the CSA. These
requirements include:

(a) Providing customers with an information sheet about these
services and fees prior to the execution of the contract or prior to receipt of
any money, 7 Pa. Stat. §§ 2185, 2187; and

(b) Requiring their contract with customers to include certain
information, including notice of the customer’s right to cancel the contract

within five days of signing, 73 Pa. Stat. § 2186.

28
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 29 of 35

111. In addition, the CSA prohibits a credit services organization from
making or using untrue or misleading representations in the offer or sale of its
services and engaging directly or indirectly in any act, practice, or course of
business which operates or would operate as a deception upon any person in
connection with the offer or sale of its services. 73 Pa. Stat. § 2183(4).

112. Defendants have violated the credit services organization provisions
of the CSA in a number of ways, including the following:

(a) Failing to provide the required information sheet;

(b) Failing to provide a contract that includes the required terms,
including notice of the right to cancel;

(c) Misrepresenting the role and interest of Defendants in the
payday loan product by listing the purported lender of the payday loans to be
American Web Loan, Inc. or AWL, Inc. when in fact Defendants were the
true lender;

(d) Failing to disclose their significant financial interest in the loan
product; and

(ec) Engaging in other deceptive conduct regarding the payday
loans.

WHEREFORE, Plaintiffs request that the Court order the following relief

in their favor and on behalf of all members of the Class against Defendants:

29
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 30 of 35

A. A determination that this action proceed as a class action, that
Plaintiffs be certified as Class representatives, and that their counsel be certified to
represent the Class;

B. — A declaratory judgment that Defendants’ conduct violates the laws
cited above, and that any purported contracts with Class members arising during
the Class period from usurious payday loans arranged, funded, and/or serviced by
Defendants are void and unenforceable;

C. An injunction prohibiting Defendants from offering, making,
arranging, funding, servicing, and/or collecting on usurious loans in Pennsylvania;

D. Actual and punitive damages pursuant to 73 Pa. Stat. § 2191;

E. Monetary damages and/or restitution of all amounts of illegal interest,
finance charges, and fees paid on the subject payday loans, trebled for Defendants’
willful, deliberate, unconscionable, repeated, and otherwise aggravated unlawful
practices, pursuant to the UTPCPL, 73 Pa. Stat. § 201.9.2(a);

F. Disgorgement of Defendants’ unjustly obtained interest payments;

G. An award of attorneys’ fees and litigation expenses and costs; and

H. Such other and further relief as the Court deems just and proper.

30
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 31 of 35

COUNT V
(Asserted on Behalf of Plaintiffs and the Subclass)

Violation of the Racketeer Influenced and Corrupt Organizations Act
(“RICO”), 18 U.S.C. §§ 1961 et seq.

113. Plaintiffs reallege and incorporate by reference all preceding
allegations of law and fact.

114. The American Web Loan, Inc. and AWL, Inc. entities were sham
organizations that operated as a front for Defendants to obscure and shield the
illegal making, servicing, and collecting of usurious consumer loans within the
Commonwealth of Pennsylvania. The American Web Loan, Inc. and AWL, Inc.
entities thus acted as the “alter ego” for Defendants, and Defendants are personally
liable, jointly and severally, for the damages alleged herein. In the alternative, to
the extent the Court concludes that the American Web Loan, Inc. and AWL, Inc.
entities did not operate as the alter ego of Defendants, then the American Web
Loan, Inc. and AWL, Inc. entities were an enterprise of individual persons and
entities that formed an association-in-fact for the purpose of engaging in criminal
activity, including the collection of unlawful debt, as prohibited by the Racketeer
Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961 ef seq.

115. RICO prohibits the use of an enterprise for the collection of unlawful
debt as follows:

It shall be unlawful for any person employed by or associated with
any enterprise engaged in, or the activities of which affect, interstate

3]
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 32 of 35

or foreign commerce, to conduct or participate, directly or indirectly,
in the conduct of such enterprise’s affairs through a pattern of
racketeering activity or collection of unlawful debt.

18 U.S.C. § 1962(c).

116. RICO also prohibits a conspiracy to use an enterprise for the
collection of unlawful debt. 18 U.S.C. § 1962(d).

117. Each Defendant is a “person” as that term is defined in 18 U.S.C. §
1961(3).

118. The American Web Loan, Inc. and AWL, Inc. entities consisting of
each named Defendant along with the entities themselves are an “enterprise” as
that term is defined in 18 U.S.C. § 1961(4).

119. The American Web Loan, Inc. and AWL, Inc. Enterprise is engaged
in interstate commerce, including without limitation the making, servicing, and
collecting of loans across State lines.

120. Loans made by the American Web Loan, Inc. and AWL, Inc.
Enterprise constitute “unlawful debt” as that term is defined in 18 U.S.C. § 1961(6)
because (i) the debt resulting from the loans is unenforceable in whole or in part as
to principal and interest under Pennsylvania laws relating to usury, and (11) the debt
was incurred in connection with the business of lending money at a usurious rate of

interest that is more than twice the enforceable rate under New Jersey law.

32
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 33 of 35

121. Defendants violated 18 U.S.C. § 1962(c) by participating, directly or
indirectly, in the conduct of the American Web Loan, Inc. and AWL, Inc.
Enterprise’s affairs in the collection of unlawful debt. Money consisting of
unlawful debts collected by Defendants was re-invested in the business of the
American Web Loan, Inc. and AWL, Inc. Enterprise.

122. Defendants also violated 18 U.S.C. § 1962(d) by conspiring to use the
American Web Loan, Inc. and AWL, Inc. Enterprise to collect unlawful debt.
Each Defendant knowingly agreed to participate in the scheme alleged herein that
allowed the American Web Loan, Inc. and AWL, Inc. Enterprise to make unlawful
loans and collect unlawful debt at more than 80 to 100 times the lawful rate of
interest under Pennsylvania’s usury laws.

123. Plaintiffs and members of the Subclass have sustained injury to their
property directly caused by Defendants’ violations of 18 U.S.C. § 1962 in the form
of, among other things, the payment of unlawful and usurious rates of interest on
loans made by the American Web Loan, Inc. and AWL, Inc. enterprise.

WHEREFORE, Plaintiffs request that the Court order the following relief
in their favor and on behalf of all members of the Subclass against Defendants:

A. — A determination that this action proceed as a class action on behalf of
the Subclass, that Plaintiffs be certified as Subclass representatives, and that their

counsel be certified to represent the Subclass;

33
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 34 of 35

B. A declaratory judgment that Defendants’ conduct violated the laws
cited above, and that any purported contracts with Subclass members arising
during the four-year Subclass period from usurious payday loans arranged, funded,
and/or serviced by Defendants are void and unenforceable;

C. An injunction prohibiting Defendants from offering, making,
arranging, funding, servicing, and/or collecting on usurious loans in Pennsylvania;

D. Monetary damages in the amount of three times the excess interest,
finance charges, and fees paid by Subclass members on the subject payday loans,
pursuant to 18 U.S.C. § 1964(c);

E. Anaward of attorneys’ fees and litigation expenses and costs pursuant
to 18 U.S.C. § 1964(c); and

F. —_ Such other and further relief as the Court deems just and proper.

VII. JURY TRIAL

Plaintiffs demand a trial by jury of all issues so triable.

Dated: June 28, 2018

Respectfully submitted,

BEREZOFSKY ROUP, LLC

 

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34
Case 2:18-cv-02747-MSG Document1 Filed 06/29/18 Page 35 of 35

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35
